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                                                          L.B.F. 3015.1
                                         UNITED STATES BANKRUPTCY COURT
                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE: Hazel Williamson                                              :    Case No.:



  Debtor(s)                                                          :   Chapter 13

                                                            Chapter 13 Plan

    Original
    ___ Amended
Date: 11/15/2021
                                              THE DEBTOR HAS FILED FOR RELIEF UNDER
                                               CHAPTER 13 OF THE BANKRUPTCY CODE
                                                  YOUR RIGHTS WILL BE AFFECTED
You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts.
You should read these papers carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY
PROVISION OF THIS PLAN MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule
3015-5. This Plan may be confirmed and become binding, unless a written objection is filed.
                                 IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                                 MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                             NOTICE OF MEETING OF CREDITORS.

Part 1: Bankruptcy Rule 3015.1(c) Disclosures

    Plan contains non-standard or additional provisions – see Part 9
    Plan limits the amount of secured claim(s) based on value of collateral - see Part 4
    Plan avoids a security interest or lien - see Part 4 and/or Part 9

Part 2: Plan Payment, Length and Distribition - PART 2(c) & 2(e) MUST BE COMPLETED IN EVERY CASE

     § 2(a) Plan payments (For Initial and Amended Plans):
            Total Length of Plan: 60 months.
            Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ $55,937.75.
            Debtor shall pay the Trustee $932.30 per month for 60 months and then
            ​Debtor shall pay the Trustee $___ per month for ____ months and then
             Debtor shall pay the Trustee $___ per month for the remaining ____ months;
                                         or
               Debtor shall have already paid the Trustee $___ through month number ____ and then shall pay the
               Trustee $___ per month for the remaining ___ months.

         Other changes in the scheduled plan payment are set forth in § 2(d)


     § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages (Describe
     source, amount and date when funds are available, if known):
     § 2(c) Alternative treatment of secured claims:
                  None. If "None" is checked the rest of §2(c) need not be completed.
                  Sale of real property
               See § 7(c) below for detailed description

                  Loan modification with respect to mortgage encumbering property:
               See § 4(f) below for detailed description
     § 2(d) Other information that may be important relating to the payment and length of Plan:
     § 2(e) Estimated Distribution:
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                            A. Total Priority Claims (Part 3)

                               1. Unpaid attorney's fees:                                          $0.00

                               2. Upaid attorney's costs                                           $____

                               3. Other priority claims (e.g. priority taxes)                      $2,696.20

                            B. Total distribution on cure defaults (§4(b))                         $49,098.01

                            C. Total distribution on secured claims (§§4(c) & (d))                 $0.00

                            D. Total distribution on general unsecured claims (Part 5)             $0.00

                                                                                       Subtotal

                            E. Estimated Trustee's Commission                                      $4,143.54

                            F. Base Amount                                                         $55,937.75



§ 2(f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)
         By checking this box, Debtor’s counsel certifies that the information contained in Counsel’s Disclosure of Compensation
     [Form B2030] is accurate, qualifies counsel to receive compensation pursuant to L.B.R. 2016-3(a)(2), and requests this Court
                                                              $0.00, with the Trustee distributing to counsel the amount stated in
     approve counsel’s compensation in the total amount of $0.00,
     §2(e)A.1. of the Plan. Confirmation of the plan shall constitute allowance of the requested compensation.

Part 3: Priority Claims (including Adminstration Expenses & Debtor's Counsel Fees)

     § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                                 Claim Number           Type of Priority      Amount to be Paid by Trustee

Shaina Bethala, 327529                                                          Attorney Fee          $0.00

Stormwater Authority of the City of Chester                                     Tax Obligation        $475.86

Keystone Collections Group                                                      Tax Obligation        $495.61

Internal Revenue Services                                4618                   Tax Obligation        $1,724.73

     § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.


    None. If “None” is checked, the rest of § 3(b) need not be completed.
    The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
governmental unit and will be paid less than the full amount of the claim. This plan provision requires that payments in § 2(a) be for
a term of 60 months; see 11 U.S.C. § 1322(a)(4).


Part 4: Secured Claims

     § 4(a) Secured Claims Receiving No Distribution from the Trustee:
    None. If “None” is checked, the rest of § 4(a) need not be completed.

                                                                                                               Claim
Creditor                                                                                                                  Secured Property
                                                                                                               Number

    If checked, debtor will pay the creditor(s) listed below directly in accordance with the contract
terms or otherwise by agreement.                                                                                          2014 Volkswagon
                                                                                                                          Beetle
One Main Financial

     § 4(b) Curing Default and Maintaining Payments
    None. If “None” is checked, the rest of § 4(b) need not be completed.
The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor shall pay directly to
creditor monthly obligations falling due after the bankruptcy filing in accordance with the parties’ contract.
Creditor        Claim Number Description of Secured Property and Address, if real property                 Amount to be Paid by the Trustee

Fay Servicing                    1128 Tilghman St                                                          $49,098.01
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     § 4(c) Allowed Secured Claims to be Paid in Full: Based on Proof      3 ofor5Pre- Confirmation Determination of the Amount,
                                                                      of Claim
     Extent or Validity of the Claim


    None. If “None” is checked, the rest of § 4(c) need not be completed.


     § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506


    None. If “None” is checked, the rest of § 4(d) need not be completed.


     § 4(e) Surrender


    None. If “None” is checked, the rest of § 4(e) need not be completed.


     § 4(f) Loan Modification
           None. If “None” is checked, the rest of § 4(f) need not be completed.
             (1) Debtor shall pursue a loan modification directly with ______ or its successor in interest or its current servicer
             (“Mortgage Lender”), in an effort to bring the loan current and resolve the secured arrearage claim.

             (2) During the modification application process, Debtor shall make adequate protection payments directly to Mortgage
             Lender in the amount of $______ per month, which represents ______ (describe basis of adequate protection
             payment) . Debtor shall remit the adequate protection payments directly to the Mortgage Lender.

             (3) If the modification is not approved by ______ (date), Debtor shall either (A) file an amended Plan to otherwise
             provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief from the automatic stay
             with regard to the collateral and Debtor will not oppose it.


Part 5: Unsecured Claims

     § 5(a) Specifically Classified Allowed Unsecured Non-Priority Claims
[X] None. If “None” is checked, the rest of § 5(a) need not be completed.

Creditor     Claim Number           Basis for Separate Classification            Treatment       Amount to be Paid by Trustee



     § 5(b) All Other Timely Filed, Allowed General Unsecured Claims
     (1) Liquidation Test (check one box)
             [X] All Debtor(s) property is claimed as exempt.
                 Debtor(s) has non-exempt property valued at $0.00 for purposes of § 1325(a)(4) and plan provides for distribution
             of $0.00 to allowed priority and unsecured general creditors.
     (2) Funding: § 5(b) claims to be paid as follows (check one box):
                 Pro rata
                 100%
                 Other (Describe)

Part 6: Executory Contracts & Unexpired Leases


    None. If “None” is checked, the rest of § 6 need not be completed.




Part 7: Other Provisions

     § 7(a) General Principles Applicable to The Plan
     (1) Vesting of Property of the Estate (check one box)
             [X] Upon confirmation
                 Upon discharge
     (2) Subject to Bankruptcy Rule 3012 and U.S.C. §1322(a)(4), the amount of a creditor’s claim listed in its proof of claim
     controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.
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     (3) Post-petition contractual payments under § 1322(b)(5) and Page
                                               Document                  4 protection
                                                                   adequate of 5 payments under § 1326(a)(1)(B),(C) shall
     be disbursed to the creditors by the Debtor directly. All other disbursements to creditors shall be made by the Trustee.
     (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is the plaintiff, before
     the completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the Trustee as a
     special Plan payment to the extent necessary to pay priority and general unsecured creditors, or as agreed by the Debtor and
     the Trustee and approved by the court.
     § 7(b) Affirmative Duties on Holders of Claims secured by a Security Interest in Debtor’s Principal Residence
     (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.
     (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations as
     provided for by the terms of the underlying mortgage note.
     (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of precluding
     the imposition of late payment charges or other default-related fees and services based on the pre-petition default or
     default(s). Late charges may be assessed on post-petition payments as provided by the terms of the mortgage and note.
     (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the Debtor pre-petition, and
     the Debtor provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall resume
     sending customary monthly statements.
     (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon books for payments
     prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor after this
     case has been filed.
     (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth above.
     § 7(c) Sale of Real Property
         None. If “None” is checked, the rest of § 7(c) need not be completed.
     (1) Closing for the sale of _____ (the “Real Property”) shall be completed within months of the commencement of this
     bankruptcy case (the “Sale Deadline”). Unless otherwise agreed by the parties or provided by the Court, each allowed claim
     secured by the Real Property will be paid in full under §4(b)(1) of the Plan at the closing (“Closing Date”).
     (2) The Real Property will be marketed for sale in the following manner and on the following terms:
     (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all customary closing
     expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary to convey good and marketable
     title to the purchaser. However, nothing in this Plan shall preclude the Debtor from seeking court approval of the sale pursuant
     to 11 U.S.C. §363, either prior to or after confirmation of the Plan, if, in the Debtor’s judgment, such approval is necessary or
     in order to convey insurable title or is otherwise reasonably necessary under the circumstances to implement this Plan.
     (4) At the Closing, it is estimated that the amount of no less then $___ shall be made payable to the Trustee.
     (5) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the Closing Date.
     (6) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale Deadline:


Part 8: Order of Distribution

The order of distribution of Plan payments will be as follows:
     Level 1: Trustee Commissions*
     Level 2: Domestic Support Obligations
     Level 3: Adequate Protection Payments
     Level 4: Debtor’s attorney’s fees
     Level 5: Priority claims, pro rata
     Level 6: Secured claims, pro rata
     Level 7: Specially classified unsecured claims
     Level 8: General unsecured claims
     Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected
*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to exceed ten (10)
percent.


Part 9: Non Standard or Additional Plan Provisions

Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box in Part 1 of this
Plan is checked. Nonstandard or additional plan provisions placed elsewhere in the Plan are void.
    None. If “None” is checked, the rest of § 9 need not be completed.


Part 10: Signatures

By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or additional
provisions other than those in Part 9 of the Plan, and that the Debtor(s) area aware of, and consent to the terms of this Plan.
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                                                             /s/ Shaina Bethala
Date: 11/15/2021
                                                             Attorney for Debtor(s)

If Debtor(s) are unrepresented, they must sign below.

Date:11/15/2021 ___                                          Debtor: /s/Hazel Williamson___

Date: ___                                                    Joint Debtor: ___
